Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 1 of 12




         EXHIBIT 3
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 2 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 3 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 4 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 5 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 6 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 7 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 8 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 9 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 10 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 11 of 12
Case 1:23-cv-01198-CJN Document 7-4 Filed 05/05/23 Page 12 of 12
